
PER CURIAM.
Jhoan Escobar-Grajales appeals the summary denial of his motion and amended motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. As the State concedes, the first ground for relief set forth in Esco-bar-Grajales’s motion is facially sufficient and not conclusively rebutted by the record. Accordingly, Escobar-Grajales is entitled to a hearing on that claim. We affirm, without comment, the trial court’s order denying relief On the remainder of the asserted claims.
AFFIRMED in part; REVERSED in Part; REMANDED.
TORPY, C.J., ORFINGER and LAMBERT, JJ., concur.
